Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 1 of 12 PageID #: 247




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 MARCO DODA, DODA USA, INC., AND      )
 DODA COSTRUZIONE MACCHINE            )
 AGRICOLE, DI DODA ALDO E C. SNC,     )
                                      )
                    Plaintiffs,       )      C.A. No. 17-604 (GMS)
                                      )
       v.                             )
                                             PUBLIC VERSION
                                      )
 WASTE MANAGEMENT, INC., WM           )
 INTELLECTUAL PROPERTY HOLDINGS, )
 LLC, WASTE MANAGEMENT NATIONAL )
 SERVICES, INC., and JAMES L. DENSON, )
 JR.,                                 )
                                      )
                    Defendants.       )

   DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS
    COUNT IV OF THE COMPLAINT UNDER FED. R. CIV. P. 12(b)(1) OR 12(b)(6)


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Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 2 of 12 PageID #: 248




                                                 TABLE OF CONTENTS

                                                                                                                                      Page

 TABLE OF AUTHORITIES .......................................................................................................... ii

          I.        NATURE AND STAGE OF THE PROCEEDINGS ..............................................1

          II.       SUMMARY OF ARGUMENT ...............................................................................1

          III.      STATEMENT OF FACTS ......................................................................................2

          IV.       ARGUMENT ...........................................................................................................3

                    A.        The Court Lacks Subject Matter Jurisdiction over Count IV ......................3

                              1.         Legal Standard .................................................................................3

                              2.         Plaintiffs Have Not Alleged Any Harm that Could
                                         Support a Case or Controversy ........................................................4

                    B.        Count IV Fails to State a Claim on Which Relief Can Be
                              Granted Because Plaintiffs Plead No Facts to Support
                              Count IV.......................................................................................................6

          V.        CONCLUSION ........................................................................................................7




                                                                    i
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 3 of 12 PageID #: 249




                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

 Cases

 Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007) ........................................................................................................... 1, 6-7

 Creative Compounds, LLC v. Starmark Labs.,
    651 F.3d 1303 (Fed. Cir. 2011)..............................................................................................3, 5

 EMC Corp. v. Zerto, Inc.,
   C.A. No. 12-956-GMS, 2014 WL 3809365 (D. Del. July 31, 2014)................................. 1, 6-7

 In re Burlington Coat Factory Sec. Litig.,
     114 F.3d 1410 (3d Cir. 1997).....................................................................................................3

 MedImmune, Inc. v. Genentech, Inc.,
   549 U.S. 118 (2007) ........................................................................................................... 1, 3-4

 Mortensen v. First Fed. Sav. & Loan Ass’n,
   549 F.2d 884 (3d Cir. 1977).......................................................................................................2

 Prasco LLC v. Medicis Pharm. Corp.,
    537 F.3d 1329 (Fed. Cir. 2008).............................................................................................. 4-5

 RKO-Stanley Warner Theatres, Inc. v. Mellon Nat’l Bank & Tr. Co.,
   436 F.2d 1297 (3d Cir. 1970).....................................................................................................6

 Senju Pharm. Co. v. Apotex, Inc.
    921 F. Supp. 2d 297 (D. Del. 2013) ...........................................................................................7

 Streck, Inc. v. Research & Diagnostic Sys., Inc.,
     665 F.3d 1269 (Fed. Cir. 2012).............................................................................................. 4-5

 Rules and Statutes

 Fed. R. Civ. P. 8(a)(2) ......................................................................................................................6

 Fed. R. Civ. P. 8(a)(3) ......................................................................................................................6

 Fed. R. Civ. P. 12(b)(1)............................................................................................................ 1-2, 7

 Fed. R. Civ. P. 12(b)(6)......................................................................................................... 1-2, 6-7




                                                                       ii
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 4 of 12 PageID #: 250




        I.      NATURE AND STAGE OF THE PROCEEDINGS

                On May 25, 2017, plaintiffs Marco Doda, Doda USA, Inc., and Doda Costruzione

 Macchine Agricole, di Doda Aldo e C. snc (collectively, “Plaintiffs”) filed a complaint (“the

 Complaint”) purporting to assert claims for Correction of Inventorship of U.S. Patent No.

 8,926,841 (the “’841 Patent”) pursuant to 35 U.S.C. § 256 (Count I), state law contract claims

 (Counts II and III), and a declaratory judgment claim asserting invalidity of the ’841 Patent

 under “35 U.S.C. §§ 101, 102, and/or 103, . . . 35 U.S.C. §§ 112, 115, 116, 256, and other

 applicable statutory provisions.” D.I. 1 at 18–24.

                Defendants now move to dismiss Count IV of the Complaint under Fed. R. Civ. P.

 12(b)(1) for lack of subject matter jurisdiction or, in the alternative, under Fed. R. Civ. P.

 12(b)(6) for failure to state a claim on which relief can be granted. This is Defendants’ Opening

 Brief in Support of their motion.

        II.     SUMMARY OF ARGUMENT

                1. Count IV should be dismissed for lack of subject matter jurisdiction because

 there is no cognizable case or controversy concerning the validity of the ’841 Patent under

 MedImmune. The ’841 Patent has not been asserted against Plaintiffs and Plaintiffs have not

 alleged, and cannot allege, any redressable harm to them. As a result, Count IV should be

 dismissed for lack of subject matter jurisdiction.

                2. In the alternative, Count IV should be dismissed for failure to allege plausible

 facts that could state a claim for relief. Count IV is nothing more than a formulaic recitation of

 bare bones legal conclusions nearly identical to that in EMC Corp. v. Zerto, Inc., C.A. No. 12-

 956-GMS, 2014 WL 3809365 at *2 (D. Del. July 31, 2014), which this Court found insufficient

 to satisfy the pleading requirements of Twombly and Iqbal. Therefore, alternatively, Count IV

 should be dismissed for failure to state a claim on which relief can be granted.


                                                   1
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 5 of 12 PageID #: 251




        III.    STATEMENT OF FACTS

                The entirety of Count IV of the Complaint recites only:

                117. Plaintiffs incorporate herein by reference each of the above-
                outlined Paragraphs as if fully set forth herein.

                118. There is an actual and justiciable controversy between
                Plaintiffs and Defendants about the validity of the ‘841 Patent.

                119. The ‘841 Patent is invalid for failure to meet the conditions
                of patentability specified in 35 U.S.C. §§ 101, 102 and/or 103,
                failure to comply with the requirements of 35 U.S.C. §§ 112, 115,
                116, 256, and other applicable statutory provisions.

                120. Plaintiffs are entitled to a declaration that one or more claims
                of the ‘841 Patent are invalid.

 D.I. 1, ¶¶ 117–20. Although comprising twenty-four pages with one hundred and twenty

 paragraphs of colorful descriptions of Plaintiffs’ interpretation of various agreements and

 business dealings between the parties, what is noticeably absent is any facts that pertain in any

 way to Count IV. For example, the Complaint is devoid of any factual allegations with respect

 to any purported conduct by Defendants putting Plaintiffs in apprehension of being sued for

 infringement of the ’841 Patent (or any other purported injury caused by the validity of the ’841

 Patent) or even any mention of any product made or sold by Plaintiffs that could be alleged to

 infringe the ’841 Patent.

                That there are no facts that could demonstrate the threat of an infringement suit

 (or any other purported harm) in the Complaint is confirmed by the parties’ own framing of the

 disputes between them in the “Tolling Agreement” relied upon in paragraph 83 of the

 Complaint.1 Ex. 1. The Tolling Agreement explicitly defined the “Disputed Issues” as:


 1
   In reviewing a factual attack on jurisdiction under Rule 12(b)(1), the court may consider
 evidence outside the pleadings. Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891
 (3d Cir. 1977). In the context of Rule 12(b)(6), a “document integral to or explicitly relied upon
                                                                                    (Continued . . .)


                                                  2
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 6 of 12 PageID #: 252




                [T]he ownership of certain intellectual property as generally set
                forth in U.S. Patent No. 8,926,841 (the “’841 Patent”), alleged
                violations of certain non-disclosure and confidentiality agreements
                between the Parties, including but not limited to that certain
                Mutual Nondisclosure Agreement between DODA and WM dated
                December 9, 2010, that certain Letter of Intent between DODA
                and WM dated December 31, 2010, and that certain Mutual
                Confidentiality and Nondisclosure Agreement between DODA and
                WM dated April 13, 2012, the ownership of and the rights to be
                included as an inventor on the ‘841 Patent, and the rights of the
                Parties with respect to those matters.

 Ex. 1 at 1. Thus, the Tolling Agreement confirms that there was and is no dispute amongst the

 parties regarding infringement of the ’841 Patent.

        IV.     ARGUMENT

                A.      The Court Lacks Subject Matter Jurisdiction over
                        Count IV

                        1.     Legal Standard

                 “Subject matter jurisdiction in declaratory judgment actions exists when ‘the

 facts alleged, under all the circumstances, show that there is a substantial controversy, between

 the parties having adverse legal interests, of sufficient immediacy and reality to warrant the

 issuance of a declaratory judgment.’” Creative Compounds, LLC v. Starmark Labs., 651 F.3d

 1303, 1316 (Fed. Cir. 2011) (quoting MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127

 (2007)).

                Under MedImmune, there is no bright line rule for determining when a declaratory

 judgment action satisfies the case or controversy requirement—the court must look at “all the

 circumstances.” But a declaratory judgment plaintiff must show that the dispute is “definite and


 (. . . continued)
 in the complaint may be considered without converting the motion into one for summary
 judgment.” In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)
 (internal quotation marks omitted).




                                                  3
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 7 of 12 PageID #: 253




 concrete, touching the legal relations of parties having adverse legal interests; and that it be real

 and substantial and admit of specific relief through a decree of a conclusive character, as

 distinguished from an opinion advising what the law would be upon a hypothetical state of

 facts.” MedImmune, 549 U.S. at 127 (internal quotation marks and brackets omitted).

                 “MedImmune does not change our long-standing rule that the existence of a

 patent is not sufficient to establish declaratory judgment jurisdiction. . . . The mere existence of

 a potentially adverse patent does not cause an injury nor create an imminent risk of an injury[,]

 absent action by the patentee . . . .” Prasco, LLC v. Medicis Pharm. Corp., 537 F.3d 1329, 1338

 (Fed. Cir. 2008). Further, “MedImmune does not stand for the proposition that an Article III

 case or controversy exists automatically whenever a competitor desires to mount a validity

 challenge. Under MedImmune, a party seeking declaratory judgment still ‘has the burden of

 establishing the existence of an actual case or controversy.’” Streck, Inc. v. Research &

 Diagnostic Sys., Inc., 665 F.3d 1269, 1284 (Fed. Cir. 2012) (quoting MedImmune, 549 U.S. at

 140) (finding no subject matter jurisdiction for a counterclaim for declaratory judgment of

 invalidity of unasserted claims where plaintiff had sued for infringement of other claims of that

 same patent).

                 Here there is no injury to Plaintiffs that could be redressed by a declaratory

 judgment of invalidity of the ’841 Patent, as the Complaint and its supporting papers makes

 clear. Thus, at most, Plaintiffs here ask the Court to render an improper advisory opinion.

                        2.      Plaintiffs Have Not Alleged Any Harm that
                                Could Support a Case or Controversy

                 “Although the Supreme Court rejected the reasonable apprehension of suit test as

 the sole test for jurisdiction, ‘it did not completely do away with the relevance of a reasonable

 apprehension of suit.’ Instead, in the wake of MedImmune, ‘proving a reasonable apprehension



                                                   4
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 8 of 12 PageID #: 254




 of suit is one of multiple ways that a declaratory judgment plaintiff can satisfy the more general

 all-the-circumstances test’ to establish jurisdiction.” Streck, 665 F.3d at 1282 (internal citations

 omitted) (quoting Prasco, 537 F.3d at 1336).

                In Creative Compounds, for example, the Federal Circuit found that, although the

 patent holder had sent notice letters to others in the industry, there was no declaratory judgment

 jurisdiction for an invalidity counterclaim because the patent holder had never accused the

 counterclaimant of infringing its patent. 651 F.3d at 1316. Here, Plaintiffs plead no facts that

 could support the Court’s declaratory judgment jurisdiction. Plaintiffs do not plead that

 Defendants have threatened them with patent infringement. See generally D.I. 1. Indeed,

 Plaintiffs plead no facts indicating that they even make, use, sell, or offer to sell a product that

 could be alleged to infringe the ’841 Patent. Id.

                Additionally, Plaintiffs’ own characterization of the “Disputed Issues” belies its

 unsupported legal conclusion that “[t]here is an actual and justiciable controversy between

 Plaintiffs and Defendants about the validity of the ‘841 Patent” (D.I. 1, ¶ 118). In the Tolling

 Agreement referenced in Paragraph 83 of the Complaint, the “Disputed Issues” were defined as

 “the ownership of certain intellectual property as generally set forth in [the ’841 Patent], alleged

 violations of certain non-disclosure and confidentiality agreements between the Parties . . . the

 ownership of and rights to be included as an inventor on the ‘841 Patent, and the rights of the

 Parties with respect to those matters.” Ex. 1 at 1. Absent from this list is any mention of threats

 of infringement suits or concerns that Plaintiffs would be prevented from selling their products

 that could potentially support a declaratory judgment suit for invalidity of the ’841 Patent.

 Because Plaintiffs have suffered no injury due to the validity of the ’841 Patent, there is no case




                                                     5
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 9 of 12 PageID #: 255




 or controversy for the Court to resolve, and any determination the Court made with respect to the

 ’841 Patent could be nothing more than an improper advisory opinion.

                 B.      Count IV Fails to State a Claim on Which Relief Can Be
                         Granted Because Plaintiffs Plead No Facts to Support
                         Count IV

                 To the extent the Court nonetheless finds that subject matter jurisdiction exists,

 Count IV is insufficiently pled and should be dismissed under Fed. R. Civ. P. 12(b)(6). Count IV

 fails to state a claim on which relief can be granted because it does not meet the requirements of

 Fed. R. Civ. P. 8(a)(2), which requires “a short and plain statement of the claim showing that the

 pleader is entitled to relief.”2

                 In order to satisfy Fed. R. Civ. P. 8(a)(2), a complaint must plead sufficient

 supporting facts that, taken as true, “state a claim to relief that is plausible on its face.” Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 570 (2007). To overcome a motion to dismiss, the complaint

 must plead facts sufficient to “raise a right to relief above the speculative level . . . on the

 assumption that all allegations in the complaint are true.” Id. at 555 (citations omitted). “Mere[]

 bare-bones legal conclusions devoid of any factual allegations” will not suffice to sustain the

 pleader’s burden. EMC, 2014 WL 3809365 at *2.

                 Count IV, in total, recites that “[t]he ’841 Patent is invalid for failure to meet the

 conditions of patentability specified in 35 U.S.C. §§ 101, 102 and/or 103, failure to comply with

 2
   Count IV also fails to comply with Fed. R. Civ. P. 8(a)(3), which requires “a demand for the
 relief sought,” because the Complaint does not request any relief with respect to Plaintiffs’
 purported “entitle[ment] to a declaration that one or more claims of the ‘841 Patent are invalid”
 (D.I. 1, ¶ 120). See generally id. at 24; RKO-Stanley Warner Theatres, Inc. v. Mellon Nat’l Bank
 & Tr. Co., 436 F.2d 1297, 1304 (3d Cir. 1970) (affirming dismissal of complaint as to a
 particular defendant where, among other deficiencies, “[t]he complaint clearly does not meet the
 requirements of [Fed. R. Civ. P. 8(a)(3)]” because “[a]side from a general prayer for ‘such other
 order as the Court, in its discretion, deems necessary,’ the complaint requests no specific relief
 against [that defendant].”).




                                                     6
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 10 of 12 PageID #: 256




  the requirements of 35 U.S.C. §§ 112, 115, 116, 256, and other applicable statutory provisions.”

  Id., ¶ 119. It concludes by declaring that “Plaintiffs are entitled to a declaration that one or more

  claims of the ‘841 Patent are invalid.” Id., ¶ 120.

                 Plaintiffs’ formulaic recitation of bare legal conclusions is nearly identical to that

  in EMC, which this Court found wanting: “One or more claims . . . is invalid for failure to

  comply with the conditions for patentability specified by Title 35 of the United States Code,

  including without limitation 35 U.S.C. §§ 101, 102, 103 and 112.” EMC, 2014 WL 3809365 at

  *2 (dismissing invalidity counterclaims for failing to “contain sufficient factual matter to satisfy

  the pleading standards set forth in Twombly and Iqbal”); see also Senju Pharm. Co. v. Apotex,

  Inc. 921 F. Supp. 2d 297, 300 (D. Del. 2013) (Robinson, J.) (dismissing invalidity counterclaims

  that averred that the asserted claims “are invalid for failure to comply with one or more of the

  provisions of Title 35 of the United States Code, including, but not limited to Sections 101, 102,

  103 and/or 112” as insufficient under the Twombly and Iqbal pleading standard). As in EMC and

  Senju, the conclusory allegations of Count IV fail to state a claim.

         V.      CONCLUSION

                 For the reasons stated above, Defendants respectfully request that the Court

  dismiss Court IV of Plaintiffs’ Complaint under Fed. R. Civ. P. 12(b)(1) or, in the alternative,

  under Fed. R. Civ. P. 12(b)(6).




                                                    7
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 11 of 12 PageID #: 257




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                                        8
Case 1:17-cv-00604-CFC-SRF Document 20 Filed 07/21/17 Page 12 of 12 PageID #: 258




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2017, I caused the foregoing to be electronically filed

  with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

  registered participants.

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